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                         IN THE UNITED STATES DISTRICT COURT

                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERJCA                               CRIMINALNO.

                                                       DATE FILED:

TERRELL DESEAN FISHER                                  VIOLATIONS:
                                                       l8 U.S.C. $ 922(o) (possession ofa
                                                       machinegun - I count)
                                                       26 U.S.C. S 5861(d) (possession of a
                                                       non-registered machine gun - I count)
                                                       18 U.S.C. $ 922(g)0 (possession of a
                                                       firearm and ammunition by a felon      -
                                                       I count)
                                                       Notice of forfeiture

                                           INDICTMENT

                                            COUNT ONE

THE GRAND JURY CHARGES THAT:

               On or about   April 10,2019, in Philadelphia in the Eastem District of

Pennsylvania, defendant

                                 TERRELL DESEAII FISHER

knowingly possessed     a machinegun, as   defined by Title 18, United States Code, Section

921(a)(23),and Title 26, United States Code, Section 5845(aX6) and (b), that is, three

machinegun conversion devices intended for use in converting a semiautomatic Glock pistol to

fire automatically.

               In violation of Title 18, United States Code, Section 922(o).




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                                            COUNT TWO

THE GRAND JURYFT]RTHER CHARGES THAT:

              On or about   April   10, 2019, in   Philadelphia in the Eastem District of

Pennsylvania, defendant

                                    TERRELL DESEAN FISHER

knowingly possessed   a machinegun, as     defined in Title 18, United States Code, Section

921(a\(23),and Title 26, United States Code, Section 5845(a)(6) and (b), that is, three

machinegun conversion devices intended for use in converting a semiautomatic Glock pistol to

fire automatically, not registered to the defendant in the National Firearms Registration and

Transfer Record, as required by Title 26, United States Code, Section 5841.

               In violation of Title 26, United States Code, Sections 58a5(a)(6), (b), 5861(d),

and 5871.




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                                          COUNTTHREE

THE GRAND JURY FURTHERCHARGES THAT:

              On or about April 10, 2019, in Philadelphia, in the Eastem District   of

Pennsylvania" defendant

                                 TERRELL DESEAN FISHER

knowing he had previously been convicted in a court ofthe Commonwealth of Pennsylvania ofa

crime punishable by imprisonment for a term exceeding one year, knowingly possessed a firearm

and ammunition, that is, at least one   ofthe following: three machinegun conversion devices

intended for use in converting a semiautomatic Glock pistol to fire automatically; and 22 live

rounds of 9mm ammunition, and the firearm and ammunition was in and affecting interstate and

foreign commerce.

               In violation of Title 18, United States Code, Section 922(g)(l).




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                                       NOTICE OF FO RFEITURE

THE GRAND JURY FURTHER CIIARGES THAT:

                 As a result of the violations of Title 1 8, United States Code, Sections 922(d0),

922(o),   nd   Title 26, United States Code, Section 5861(d) set forth in this indictment, defendant

                                   TERRELL DESEAI\ FISHER

shall forfeit to the United States of America the firearms and ammunition involved in the

commission of these offenses, including, but not limited to:

                         three machinegun conversion devices intended for use in converting a
                         semiautomatic Glock pistol to fire automatically;

                 2.      Twenty-two rounds of 9mm ammunition

                 All pursuant to Title 28, United   States Code, Section 2461(c), and   Title   18,

United States Code, Section 924(d).

                                                         A TRUE BILL:




                                                         G                                 N




JENNIFER ARBITTIER
                                  a.
                             LLIAMS
                                       L
Acting United States Attorney




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